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     Link Motion Shareholders Action
     Spread the word, Join the "ght, Never Give Up Fighting for Justice




     Posts


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             2020
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             We would like to wish every LKMForward
             follower and supporter a Happy New Year!
             There have been many developments and
             substantial progress made by Robert W.
             Seiden, the Court-Appointed Receiver and his
             team in the ongoing e!ort to restore Link
                                                                                             L
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             Motion Inc. (the “Company”) to order and
             ultimately to try and secure a recovery for Link
             Motion’s shareholders during 2019. The
             Receiver will continue his e!orts and has a
             dedicated team working on these goals around
             the clock and in all relevant jurisdictions going
             into 2020. While many of the Receiver’s e!orts
             and developments are currently in various
             courts around the world, we wanted to provide
             you all with an update as the new year begins.
             In many regards, the advancements have been
             ground-breaking and certainly are setting the
             stage for what we hope becomes an
             unprecedented recovery.


             Highlights:


                 1. China: As mentioned in our last update,
                      under the great leadership of Francis Guo
                      inside China, who was named by the
                      Court-Appointed Receiver as Chairman of
                      the Company, the Company’s WFOE
                      (Wholly Foreign Owned Entity) changed
                      its Chairman and legal representative
                      from Zemin Xu to Francis Guo. While
                      Vincent Shi and Zemin Xu tried to block
                      this outcome with arbitration and court
                      proceedings, we were able to prevail in
                      subsequent court cases and the WFOE
                      changes have remained in our favor by


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                      permanent court ruling of Beijing Haidian
                      District SAIC judges! Additionally, and in
                      what we believe is the "rst time ever, we
                      also were able to successfully take the
                      "rst steps in asserting legal control over
                      Beijing NQ Technology Co. Ltd, the
                      Variable Interest Entity (VIE). We are now
                      moving forward in the Haidian Courts to
                      cancel the previously issued preservation
                      order which had the result of freezing the
                      change in the WFOE’s signature authority
                      and CHOPs with China Merchants Bank.
                      Once this preservation order is cancelled,
                      we will move to "nally get access to the
                      Company’s WFOE bank accounts and
                      records which will take us to the next
                      stages of asset preservation and
                      recovery. These developments in China
                      are unprecedented! We have a great
                      team and strategy to pursue the recovery
                      e!orts and achieve justice for the
                      shareholders. We are working to ensure
                      that Vincent Shi, Zemin Xu, and the
                      members of the Board of Directors who
                      allowed the Company assets to e!ectively
                      be hidden inside of China are not
                      successful in this endeavor. There is
                      much that we are not able to
                      communicate at this time due to various
                      ongoing legal proceedings, steps and


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                      strategies. We will be sure to update you
                      when we are able. We certainly continue
                      to expect that the former and current
                      members of the Board of Directors,
                      especially Justin Chen, Zemin Xu, Vincent
                      Shi, Roland Wu will begin to cooperate
                      more forthrightly as we continue to
                      persevere.
                 2. Hong Kong: The Receiver hired a highly
                      experienced team to handle the Hong
                      Kong arbitration matter between the
                      Company, ZZ, Tongfang and the
                      convertible note. We are not able to
                      provide an update at this point because
                      the proceedings are ongoing and
                      con"dential – but we continue to feel
                      strongly that ZZ, Vincent Shi, the Board of
                      Directors, and Tongfang were all related
                      and con#icted.
                 3. United States: The judge in the
                      derivative lawsuit action entitled Wayne
                      Baliga, derivatively on behalf of Link
                      Motion Inc. against Link Motion Inc.,
                      Vincent Shi et al has referred the general
                      pretrial matters (including scheduling,
                      discovery, non-dispositive pretrial
                      motions and settlement) to a magistrate
                      judge who will hear the matters and rule
                      on them before proceeding further. We
                      will hope to update you more fully as this


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                      case proceeds. We expect some
                      developments on these important
                      matters shortly.


             Finally, we look forward to doing all we can to
             support the Receiver and his team in trying to
             restore what was lost, take back what was
             taken illicitly, and to "nd a way to recover on
             behalf of all shareholders.


             Happy New Year and here’s to a 2020 where
             justice and recovery can take center stage!


              ! Post Views: 561




  ← Chinese Court Rules in
  Favor of WFOE actions taken
  by Chairman Francis Guo




            6 thoughts on
            “Progress Report –
            LKMForward Presses
            On in 2020”
                      Peter says:


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                      January 16, 2020 at 12:27 am


                      Many Thanks!


                      Reply


                      Bertrand says:
                      January 16, 2020 at 1:44 am


                      Thanks for the e!orts, hoping justice will
                      be served. I am curious as to what assets
                      is left for shareholders. Thanks again.


                      Reply


                      Babatunde Ashiru says:
                      January 16, 2020 at 5:38 am


                      Many thanks for this update, very much
                      appreciated and I sincerely hope long
                      su!ering shareholders (myself "rmly
                      included) get redress appropriately for
                      entrusting/investing their hard earned
                      money in a company that was criminally
                      established to steal from unsuspecting
                      investors. Any tangible recovery or
                      redress at all will immeasurably gladden
                      my heart. Thanks for all the hard work,
                      happy new year!


                      Reply



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                      Alex says:
                      January 16, 2020 at 8:25 pm


                      I am not giving up hope, thank you very
                      much for this update


                      Reply


                      Greg S says:
                      January 17, 2020 at 2:37 am


                      This is a big year for restoring LKM assests
                      to investors and people working on this
                      case to bring about justice. As a
                      shareholder, I am not going to get to
                      excited. I believe if something is done,
                      then certain people will get taken care of
                      and not all share holders ( small/Big). But I
                      do hope those criminals get nailed good.


                      Reply


                      Mario says:
                      February 8, 2020 at 4:29 am


                      Thanks for doing all that work! Keep up
                      the good work and positive spirits!
                      Looking forward to hearing more good
                      news in not so distant future!


                      Reply



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